                              UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF INDIANA
                                   HAMMOND DIVISION

JAMES LARKIN,                                )
                                             )
         Plaintiff,                          )
                                             )        CASE NO. 4:18-CV-65
v.                                           )
                                             )        HON. THERESA L. SPRINGMAN
GEOFFREY TALBOT,                             )
                                             )
         Defendant.                          )

                          DEFENDANT TALBOT’S MOTIONS IN LIMINE

         Pursuant to the Court’s Order, Defendant, Geoffrey Talbot, herewith moves the Court for

an order in limine1 which prohibits the Plaintiff, his counsel or representatives, or any witness from

referring to or attempting in any way to offer evidence as to the following matters:

     1. Any suggestion that Defendant Talbot is insured or indemnified by the Indiana
        Department of Correction against liability for any adverse judgment.
         It is anticipated that Plaintiff may suggest that Defendant Talbot is insured against liability

on the claims alleged in this case, or that the Indiana Department of Correction (IDOC) is obliged

to pay any judgment that might be entered against him. Defendant Talbot expects Plaintiff to

attempt to put this before the jury to make it easier for jurors to award significant money damages

against Defendant Talbot. It is reasonable that if Plaintiff is allowed to suggest this to the jury it

would tend to persuade them to conclude that monies to pay an adverse judgment would come



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  “Trial courts issue rulings on motions in limine to guide the parties on what evidence it will admit later in trial,”
Perry v. City of Chicago, 733 F.3d 248, 252 (7th Cir. 2013); and federal district courts “have the power to exclude
evidence in limine pursuant to their authority to manage trials.” VanGilder v. Baker, 2008 WL 2225647, at *4 (N.D.
Ind. May 27, 2008) (quoting Dartey v. Ford Motor Co., 104 F.Supp.2d 1017, 1020 (N.D. Ind. 2000)). Motions in
limine are granted “where the evidence is clearly inadmissible for any purpose,” VanGilder (citing United States v.
Caputo, 313 F.Supp.2d 764, 768 (N.D. Ill. 2004)); motions in limine are also granted when the probative value of the
putative evidence, though relevant, is substantially outweighed by unfair prejudice or jury confusion. Fed. R. Evid.
403.

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from a large, impersonal municipal corporation, and not the individual defendant.

        As the Court observed in Brooks v. Solis, No. 15 CV 3429, 2017 WL 2908767, at *3 (N.D.

Ill. July 7, 2017), “[t]he probative link between the [the government’s] indemnification obligations

and whether [the defendant] acted wrongfully is too tenuous to be relevant and would be similar

to signaling to the jury that their liability is covered by insurance.” Even if probative of a legitimate

matter, evidence of indemnification is precluded because “it would be unfairly prejudicial under

the balancing test of Fed. R. Evid. 403.” Figueroa v. City of Chicago, No. 97 C 8861, 2000 WL

520926, at *1 (N.D. Ill. Apr. 24, 2000); see also Lawson v. Trowbridge, 153 F.3d 368, 379 (7th

Cir. 1998)(“In the general case courts exclude evidence of indemnification out of fear that it will

encourage a jury to inflate its damages award because it knows the government – not the individual

defendants – is footing the bill.”) Analogous to this concept is Fed. R. Evid. 411, which provides

that an individual defendant has insurance to cover an adverse judgment is never admissible to

prove negligence or an indicate an ability to pay. See, e.g., VanGilder v. Baker, 2008 WL 2225647,

at *3 (N.D. Ind. May 27, 2008); see also King v. Harrington, 447 F.3d 531, 533 (7th Cir. 2006).

Thus, any reference to insurance or indemnification, either in voir dire or at trial, should be barred.

    2. Any reference to any state tort claims Plaintiff tried to raise.
        In his Complaint, Plaintiff attempted to bring claims for the state torts of assault and

battery. [ECF 1, at ¶48]. However, all state tort claims were dismissed by the Court in its Screening

Order after it found that, “Larkin does not mention filing a tort claims notice and it would not be

plausible to infer that he has. Therefore[,] he may not proceed on a State law claim.” [ECF 11, at

3]. Because Plaintiff never amended his Complaint to reflect that he had filed a tort claims notice

and it is too late to do so now, he should be barred from testifying about, referring to, or otherwise

claiming that Defendant Talbot and any other previous defendant assaulted him, battered him, or

committed a different state tort against him on April 10, 2018.

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   3. Any reference to the fact that Superintendent Mark Sevier, Major Chad Cornett,
      Lt. Kevin Halloran, and/or Mental Health Officer Michelle A. Boren were once
      defendants in this case or that they somehow caused or contributed to Plaintiff’s
      claimed constitutional injury, including through a policy, practice, or custom.
       Prior defendants, Superintendent Mark Sevier, Major Chad Cornett, Lt. Kevin Halloran,

and/or Mental Health Officer Michelle A. Boren were dismissed from this action pursuant to the

issuance of the Court’s Screening Order on May 6, 2019. [ECF 11]. Plaintiff alleged that Mr.

Sevier and Major Cornett were previously “placed on notice of the abusive conduct of defendants

Bradford, Talbot…by a number of complaints and grievances over many months and years” and

that they were deliberately indifferent when they did not “take disciplinary or other actions to curb

the known pattern of physical abuse of inmates” by the other defendants. [ECF 1, at ¶¶39, 49].

However, in its Order, the Court noted that Mr. Sevier and Major Cornett were not municipalities

and, therefore, Plaintiff’s claims about their alleged failure to discipline employees who allegedly

used excessive force on prior occasions, failed to state a claim. [ECF 11, at 3].

       Plaintiff also alleged that Mr. Sevier, Major Cornett, Lt. Halloran, and Ms. Boren retaliated

against him for covering his window and engaging in a hunger strike. [EF 1, at ¶50]. Nonetheless,

the Court also noted that the duration and severity of the conditions described by Plaintiff, when

Mr. Sevier, Major Cornett, Lt. Halloran, and Ms. Boren allegedly placed Plaintiff “on strip cell to

punish [Plaintiff] for covering his cell door and window and for engaging in a hunger strike” “do

not constitute an atypical and significant hardship.” [ECF 11, at 3-4].

       Thus, Plaintiff should not be allowed to claim, raise, or refer in trial or voir dire that: (1)

these former defendants caused or contributed to his injuries; (2) there was any “known pattern of

physical abuse of inmates” by the remaining or former defendant(s); or (3) there was any retaliation

against Plaintiff for the actions that transpired on April 10, 2018.




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   4. Any reference to the use of pepper spray or O.C. spray being excessive force,
      unwarranted, or unconstitutional.
       Plaintiff initially alleged that, “in retaliation for [his] actions which was attributed to [his]

mental illness, [Plaintiff] was repeatedly sprayed by Defendant Eakins with pepper spray (O.C.)

while locked in [his] cell…” [ECF 1, at ¶30]. However, the claims against Lt. Evin Eakins, as well

as the claims involving the use of pepper or O.C. spray, were disposed of by this Court’s May 19,

2021, summary judgment Order. [ECF 95]. In the Order, the Court held, “the use of the pepper

spray was not a constitutional violation” and “the record shows that Larkin repeatedly disobeyed

the officers’ orders to ‘cuff up’ so that he could be taken from his cell.” [ECF 95, at 5-6].

       It is, nonetheless, anticipated that Plaintiff may seek to introduce testimony or other

evidence claiming that the use of pepper spray or O.C. spray was unnecessary, unjustified, or

otherwise in violation of his Eighth Amendment rights. However, these arguments have already

been examined by this Court and have been found to be unpersuasive and not amounting to an

Eighth Amendment violation. The Court has already found that, “the officers had a right to extract

Larkin regardless of whether he was a ‘threat,’” and “prison officials are afforded ‘wide-ranging

deference in the adoption and execution of policies and practices…to preserve internal order and

discipline.’” [ECF 95, at 6].

       Moreover, Plaintiff never alleged the use of pepper or O.C. spray by Defendant Talbot –

only (former) defendant Eakins. Thus, Plaintiff should not be allowed to claim, raise, or refer in

trial or voir dire that: (1) Defendant Talbot used or directed the use of pepper or O.C. spray; or (2)

that the use of pepper or O.C. spray was unnecessary, unjustified, or otherwise in violation of

Plaintiff’s Eighth Amendment rights.




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   5. Any reference to the fact that Lt. Evin Eakins, Lt. Jeffrey Armstrong, or Ofc. Tim
      Ryan were once defendants in this case or that they somehow caused or
      contributed to Plaintiff’s claimed constitutional injury.
       Plaintiff initially alleged that Lt. Eakins, Lt. Armstrong, and Ofc. Ryan “beat [him] in the

head, face, and body,” that he was punched and kicked, and that one of them grabbed him by the

head/hair and slammed his “face/head onto the floor continuously.” [ECF 1, at ¶¶31-33]. Plaintiff

also alleged that former defendants Eakins, Armstrong, and Ryan did not intervene when other

defendants allegedly kicked or punched Plaintiff or when a taser gun was pointed at Plaintiff. [ECF

1, at ¶34]. Finally, Plaintiff generically alleged that former defendants Eakins, Armstrong, and

Ryan either failed to intervene or actively engaged in behavior that violated his Eighth Amendment

rights. [ECF 1, at ¶47].

       Despite these initial claims, the Court, in its May 19, 2021, Order on summary judgment,

held that Plaintiff did not “designate any evidence showing that Defendants Eakins, Armstrong, or

Ryan used force on him directly, so the claim must be dismissed against those defendants.” [ECF

95, at 6]. The Court also held that Plaintiff, “has not presented evidence showing that the officers

had a ‘realistic opportunity’ to stop Talbot from slamming [Plaintiff’s] head into the ground” and

granted summary judgment on those claims as well. [ECF 95, at 10-11].

       As such, Plaintiff should not be allowed to claim, raise, or refer in trial or voir dire that:

(1) former defendants Eakins, Armstrong, and/or Ryan were once defendants to this case; (2) that

they somehow caused or contributed to his alleged constitutional injury; or (3) that any defendant

had “a realistic opportunity to step forward and prevent a fellow officer from violating [Plaintiff’s]

rights through the excessive use of force, but failed to do so.” Fillmore v. Page, 358 F.3d. 496,

505-06 (7th Cir. 2004) (quoting Miller v. Smith, 220 F.3d 491 (7th Cir. 2000)).




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   6. Any reference to the fact that Ofc. Andrew Krause and/or Ofc. Michael Bach
      were once defendants in this case or that they somehow caused or contributed to
      Plaintiff’s claimed constitutional injury.
       Plaintiff initially alleged that Ofc. Krause and Ofc. Bach “beat [him] in the head, face, and

body,” that he was punched and kicked, and that one of them grabbed him by the head/hair and

slammed his “face/head onto the floor continuously.” [ECF 1, at ¶¶31-33]. Plaintiff also

generically alleged that former defendants Krause and Bach either failed to intervene or actively

engaged in behavior that violated his Eighth Amendment rights. [ECF 1, at ¶47]. Plaintiff later

testified, via a “declaration” in opposition to the Defendants’ motion for summary judgment, that

Ofc. Krause punched or hit him in the head “several times” when Plaintiff was on his feet and that

Ofc. Bach “got over [him] and dropped a few knees into [Plaintiff’s] back and ribs. [Decl. Larkin

1, ECF 90-1].

       Despite these claims, the Court, in its May 19, 2021, Order on summary judgment, held

that Ofc. Krause’s use of force was not excessive because: (1) “Larkin still posed a danger to the

officers,” citing, McCottrell v. White, 933 F.3d. 651, 663 (7th Cir. 2019); (2) “the officers had

already tried to limit the force they needed to use against Larkin, using repeated verbal orders and

pepper spray before resorting to physical confrontation;” and (3) “Larkin presented no evidence

of injury caused by Krause.” [ECF 95, at 7]. Similarly, the Court previously held that summary

judgment was appropriate for Ofc. Bach because “there is no allegation of significant injury to…

[Larkin’s] back or ribs.” [ECF 95, at 8]. Finally, as with the other former defendants, the Court

also held that Plaintiff, “has not presented evidence showing that the officers, including Ofc.

Krause and/or Ofc. Bach, had a ‘realistic opportunity’ to stop Talbot from slamming [Plaintiff’s]

head into the ground” and granted summary judgment on those claims as well. [ECF 95, at 10-11].

       Therefore, Plaintiff should not be allowed to claim, raise, or refer in trial or voir dire that:



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(1) former defendants Krause and/or Bach were once defendants to this case; (2) they somehow

caused or contributed to his alleged constitutional injury; (3) they failed to intervene against any

alleged unconstitutional behavior; or (4) Plaintiff sustained any injuries to the left side of his head,

his back, or his ribs. Keller v. Trefz, 66 F. App’x 44, 46 (7th Cir. 2003 (finding a prisoner’s

“allegations of serious injury [un]substantiated by medical records” did not preclude summary

judgment on excessive force); Bennett v. Sobek, 336 F. Supp. 3d 933, 939-940 (E.D. Wis. 2018).

    7. Any reference to the fact that Sgt. Calvin Bradford was once a defendant in this
       case.
        Like with the other former defendants, Plaintiff also alleged that Sgt. Calvin Bradford was

one of the correctional officers who “beat [him] in the head, face, and body,” that he was punched

and kicked, and that one of the correctional officers grabbed him by the head/hair and slammed

his “face/head onto the floor continuously.” [ECF 1, at ¶¶31-33]. Plaintiff also generically alleged

that Sgt. Bradford either failed to intervene or actively engaged in behavior that violated his Eighth

Amendment rights. [ECF 1, at ¶47]. Plaintiff later testified, via a “declaration” in opposition to the

Defendants’ motion for summary judgment, that Sgt. Bradford, “got over [him] and started

punching [Plaintiff] in the left side of [Plaintiff’s] head and face with his left gloved hand…15-30

times.” [Decl. Larkin 1, ECF 90-1].

        Despite these claims, the Court, in its May 19, 2021, Order on summary judgment, held

that Sgt. Bradford’s actions were not excessive because, “there is no allegation of significant injury

to the left side of Larkin’s head (the side where Bradford allegedly punched him 15 to 30

times)….” [ECF 95, at 8]. The Court also held that Plaintiff, “has not presented evidence showing

that the officers, including Sgt. Bradford, had a ‘realistic opportunity’ to stop Talbot from

slamming [Plaintiff’s] head into the ground” and granted summary judgment on those claims as

well. [ECF 95, at 10-11].


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       Given these earlier findings, Plaintiff should not be allowed to claim, raise, or refer in trial

or voir dire that: (1) Sgt. Bradford was once a defendant to this case; (2) Sgt. Bradford caused or

contributed to cause any injuries to the left side of Plaintiff’s head; or (3) Sgt. Bradford failed to

intervene against any alleged unconstitutional behavior.

   8. Any testimony or other insinuation that Plaintiff did not resist the cell extraction
      or the cell extraction team.
       It is anticipated that Plaintiff will testify that “he never threw one punch or kick,” that he

did not actively resist the cell extraction team members, and/or that he did not physically attack or

resist the cell extraction team members during the cell extraction on April 10, 2018. However,

Plaintiff is precluded from testifying in such a manner or from raising such arguments because he

was found guilty of two different conduct disciplinary violations associated with the events from

April 10, 2018.

       First, Plaintiff received a Conduct Report from Ofc. Alex McGowan, for battery against an

officer, when Plaintiff threw an unknown liquid at Ofc. McGowan, striking him in the chest area

of his vest on April 10, 2018, prior to the cell extraction incident. While the substance was later

confirmed to be water, on April 24, 2018, Plaintiff was nonetheless convicted of Disciplinary Code

violation 102, which resulted in a loss of privileges, a loss of earned credit time, and a demotion

of his credit class. This conviction has not been set aside.

       Second, Plaintiff received a second conduct report from the events on April 10, 2018, this

time from Ofc. Andrew Krause. Officer Krause completed a Conduct Report wherein he alleged

battery against Plaintiff when he was attempting to secure Plaintiff’s leg and was “kicked by

Offender Larkin [which] caused immediate severe pain in [his] right hand during the cell

extraction.” As a result of this Conduct Report, Plaintiff was again convicted of Disciplinary Code

violation 102, which also resulted in a loss of privileges, lost earned credit time, and a demotion


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of his credit class. This conviction has also not been set aside.

        Pursuant to Heck v. Humphrey, 512 U.S. 477, 486-87 (1994), a civil claim that necessarily

implies the invalidity of an outstanding conviction must be dismissed without prejudice because

the claim does not accrue until the conviction has been set aside. Johnson v. Rogers, 944 F.3d 966,

968 (7th Cir. 2019). This rule applies with equal force to prison disciplinary convictions, like the

ones here. Edwards v. Balisok, 520 U.S. 641 (1997).

        Here, Plaintiff may not testify or take the position that he was not physically resisting the

cell extraction team, that he did not kick or batter any members of the cell extraction team, or that

he did not engage in any behavior that led to the cell extraction on April 10, 2018, because he has

been convicted on two separate disciplinary violations for battery, which would be contradicted if

he were allowed to testify as such. Simply put, while Plaintiff’s claim of excessive force is properly

before this Court, any testimony or evidence offered by Plaintiff that would “necessarily imply the

invalidity of his conviction(s)” of battery cannot be advanced by Plaintiff at trial. See, Tolliver v.

City of Chicago, 820 F.3d 237, 244 (7th Cir. 2016). As such, Plaintiff should not be allowed to

claim, raise, or refer in trial or voir dire that: (1) he was not physically resisting the cell extraction

team; (2) he did not kick or batter any members of the cell extraction team; or (3) he did not engage

in any behavior that led to the cell extraction on April 10, 2018.

    9. Any claim(s) by Plaintiff that the Defendant(s) or the Indiana Department of
       Correction have withheld or destroyed any video images or audio recordings of
       the events alleged on April 10, 2018.
        In the course of this litigation, Plaintiff requested, and the Defendant(s) produced, a

redacted video of the cell extraction events, as well as a video from the taser of one of the officers.

[ECF 73-1]. As a part of this production, the Defendant(s) advised Plaintiff that, “[t]he video taken

on the hand held camera cuts off before the cell extraction took place, because the SD card ran out



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of memory. Please be advised that 1:54 to 3:16 of the original video has been removed for facility

safety and security, because the confidential cell extraction protocol (see redacted document

labelled IDOC000024) is read aloud during those 81 seconds.” [ECF 72, at 2]. These are the only

video images/recordings in possession of the Defendant(s) regarding the April 10, 2018, cell

extraction. Moreover, the lack of SD card memory was not identified until shortly after the cell

extraction took place – meaning that there was no other or additional SD card to be found or which

could contain additional footage of the cell extraction on April 10, 2018, and this has been the case

since only minutes after the cell extraction took place on April 10, 2018.

        Throughout this litigation, Plaintiff has referenced the video footage, including in his

response in opposition to the Defendants’ motion for summary judgment, to either claim that the

Defendant(s) were lying, or to show that he was not physically resisting, or to claim that the

“missing” video precluded summary judgment. [ECF 90]. Nonetheless, there is no additional or

“missing” video and there never has been. Moreover, to the extent that Plaintiff wanted an

unredacted version of the produced extraction video, he never pursued its production or tried to

compel its production. Notably, Defendant Talbot continues to assert that the production of the

unredacted version of the video should be withheld due to the possible nature of the security threats

to the facility if the cell extraction process and protocol was provided to a still-incarcerated

Plaintiff.

        Moreover, spoliation is not an issue in this case, and there exists no evidence that Defendant

Talbot or any other former defendant or even the IDOC has wrongfully withheld or destroyed

video images of the cell extraction incident with Plaintiff, or that there are somehow other “views”

of the alleged incident that were not provided to him. It is nevertheless expected that Plaintiff will

attempt to argue that if only Defendant Talbot, or IDOC, or their attorneys, had produced these



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non-existent “other views” or images, they would substantiate his claims of being beaten, his head

being “slammed” on the ground, him not physically resisting the cell extraction team, and that all

of the events in question happened as he claims, without any of the former defendants intervening

to stop it.

        It would be most prejudicial to Defendant Talbot were Plaintiff allowed to suggest to the

jury that Defendant Talbot committed the acts he ascribes to him and that Defendant Talbot is

trying to cover it up by withholding or destroying film imagery that, had it been produced, would

have shown that he engaged in the behavior as Plaintiff alleges. This would hardly be the first time

an inmate plaintiff has claimed– absent any substantiating evidence– that video footage would

prove his case if only the correctional facility had not suppressed or destroyed it. In Sinn v. Brush,

2019 WL 4688724 (S.D.Ind. Sept. 26, 2019), defendants filed a motion in limine to exclude “any

argument, questions, testimony, or evidence suggesting spoliation of video footage from

Putnamville Correctional Facility” on the date of the alleged incident. In its order granting

defendants’ motion, the district court noted that “[t]he fact that certain areas of the Putnamville

Correctional Facility are not captured by footage offered in this case does not mean that footage

does not exist, or that it never existed,” but “there is no allegation that Brush or any IDOC

employee improperly destroyed footage or failed to preserve footage, and it would be improper to

insinuate to a jury that other footage existed that bolsters either party’s version of the facts.” Id. at

*5.

        So too here. Given the absence of any evidence of spoliation of camera footage, it would

be highly prejudicial for Plaintiff to suggest to the jury that such evidence existed; that it showed

all of the wrongdoing Plaintiff claims occurred in this matter or that it showed Plaintiff not resisting

the cell extraction team efforts; and that Defendant Talbot or his employer (IDOC) therefore



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withheld or destroyed such imaging. Any such argument, questions, testimony, or evidence

suggesting that: (a) additional video footage existed or does exist; (b) substantiating Plaintiff’s

account of event; (c) that was or is being withheld or has been destroyed by Defendant Talbot or

his employer, the IDOC, or by Defendant Talbot’s attorneys, or by any staff member or employee

of the Westville Correctional Facility, should be barred by an order in limine.

    10. Any reference to other injuries that rise to the level of an actionable constitutional
        violation.
        Over the course of litigation, Plaintiff has alleged various injuries, including, but not

limited to, those stemming from the use of pepper or O.C. spray, smaller scratches, cuts, or

abrasions to his face, injuries to his back, ribs, and/or left side of his head, a cut to his right

eyebrow, and other physical and/or emotional damages stemming from the cell extraction incident

on April 10, 2018, and/or the subsequent “retaliation” of a “strip cell.” [ECF 1, at ¶¶30-50; Decl.

Larkin 1, ECF 90-1]. However, following the summary judgment Order, only one injury remains

at issue – the cut above Mr. Larkin’s right eyebrow, which required stitches. [ECF 95, at 9, 11].

        The remaining allegations and injuries have since been disposed of by the Court either

through the May 6, 2021, Screening Order or the May 19, 2021, Order on summary judgment. In

particular, in its May 19, 2021, Order, the Court specifically found that the “several smaller cuts

or abrasions on [Plaintiff’s] face, which did not appear to be bleeding” were insufficient to sustain

an Eighth Amendment claim, as they were caused by the use of de minimus, rather than excessive

force. [ECF 95, at 7 n.6]. Therefore, Plaintiff should not be allowed to claim, raise, or refer in trial

or voir dire that he sustained any actionable injuries as a result of the April 10, 2018, cell

extraction, other than the cut above his right eyebrow.




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   11. Any opinion testimony in the form of self-diagnosis or causal relationships
       between Defendant Talbot’s alleged conduct and Mr. Larkin’s prior medical
       conditions and those which developed thereafter.
       Although Fed. R. Evid. 701 allows a lay witness to testify regarding symptoms of a medical

condition, such a witness may not give an opinion regarding medical diagnoses, prognoses,

conclusions, or medical opinions in general. See McQuiston v. Helms, 2009 WL 554101, at *11

(S.D. Ind. Mar. 4, 2009)(“[The Plaintiff] cannot opine on medical causation or the impact of [the

doctor’s] medical diagnosis on his ability to work in the future because those opinions would

necessarily have to be “based on scientific, technical, or other specialized knowledge,” pursuant

to Rule 701). Plaintiff – and any other lay witness – lacks the knowledge, skill, experience,

training, and education that would qualify them to testify as to the nature of an underlying medical

condition, cause, or its permanency as a result of the incident. See, e.g., Pearson v. Ramos, 237

F.3d 881, 886 (7th Cir. 2001) (finding inmate incompetent to testify in his conditions-of-

confinement case that there is a causal relationship between exercise and healthy gums); Crawford

v. Davis, 597 F.Supp.3d 1243, 1245-46 (S.D. Ill. 2022) (motion in limine granted precluding

inmate plaintiff from testifying that contaminated standing water in the showers caused his feet to

develop fungal infection and precluding co-plaintiff from testifying that fall caused concussion or

caused him to urinate blood for two days). Moreover, this testimony could serve only to prejudice,

confuse, and mislead the jury. Fed. R. Evid. 403, 701.

       Here, it is unknown whether Plaintiff will seek to claim that any injury to his right eyebrow

is “permanent,” that its healing or his general recovery was fraught with complications or improper

healing, that there were other injuries which were sustained because of Defendant Talbot’s alleged

conduct, or that the injury to his right eyebrow caused or led to other alleged injuries as time

progressed. Regardless, Plaintiff has not identified any expert witnesses who could testify to the



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permanency, if any, of his alleged injury, nor has he identified any such opinions from treating

physicians or health professionals. Thus, while Plaintiff can speak to matters rationally based on

his perception, e.g., a description of his injury or pain related thereto, he cannot discuss the nature

and extent of the damage, the permanency of such injury, or other matters reserved to the opinion

of a medical professional. McQuiston, 2009 WL 554101 at *11; see also Marvin v. Holcomb, 2022

WL 18956480, at *4 (N.D. Ind. Sept. 8, 2022).

        Additionally, it is anticipated that Plaintiff may seek to testify that he was under a “manic”

trance or episode, or that he was experiencing some other type of mental health condition which

led to and/or justified his behavior on April 10, 2018, before, during, and after the cell extraction

involving Defendant Talbot. Nonetheless, not only do the contemporaneous medical records

indicate that it was the clinical opinion of mental health professionals that Plaintiff’s “mental

health state was not a factor in his alleged misconduct,” [ECF 72, at 197] but, again, Plaintiff has

not offered or identified any medical professionals who could testify as to his mental health status

or why it was a factor in his behavior on April 10, 2018. Because such testimony may be offered

only by a properly disclosed expert witness, and Plaintiff has identified no such individual,

Plaintiff should be barred from testifying personally as to these issues. See Fed. R. Evid. 701, 701;

Taylor v. N.E. Illinois Reg'l Commuter R.R. Corp., No. 04 C 7270, 2008 WL 244303, at *5 (N.D.

Ill. Jan. 28, 2008).

    12. Any reference offers of settlement in this case.
        Rule 408 of the Federal Rules of Evidence prohibits the admission into evidence of the fact

of an offer or promise to compromise, or statements made during a settlement negotiation. Fed. R.

Evid. 408. Its purpose is “to encourage litigants to engage in settlement discussions without fear

that what they say will return to haunt them” in the form of tacit admissions of liability. See

VanGilder v. Baker, 2008 WL 2225647, at *4 (N.D. Ind. May 27, 2008).

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       Evidence of settlement negotiations and/or offers of compromise are simply not material

to the issues in this case and would serve no purpose other than to improperly persuade the jury

and prejudice Defendant Talbot. Fed. R. Evid. 401, 402, 408; Van Gilder, supra; see also Stewart

v. Jackson, 2021 WL 1660976, at *3 (N.D.Ind. Apr. 28, 2021). No reference to any settlement

offer, or any statements made during the course of settlement discussions, should be permitted by

the Court, and an order in limine should bar the same

   13. Evidence related to alleged “prior bad acts” by Defendant Talbot.
       This action is based on Plaintiff’s claim that Defendant Talbot used excessive force during

a cell extraction wherein Plaintiff claims that, after he was subdued, Talbot “grab[b]ed [him] by

[his] head and hair and slam[m]ed [his] face and head into the floor split[t]ing [his] right eyebrow

open and pulling out [his] hair.” [Decl. Larkin 1, ECF 90-1]. Defendant Talbot requests that an in

limine order be issued to foreclose any suggestion that Defendant Talbot was involved in “prior

bad acts” of any kind, pursuant to Fed. R. Evid. 404(b); and this order should extend to any

comment or claim that officers of IDOC generally or frequently use excessive force, especially

during cell extractions.

       As the Court is aware, evidence of a prior wrongful act “is not admissible to prove a

person’s character in order to show that on a particular occasion the person acted in accordance

with the character.” Fed. R. Evid. 404(b)(1); see Brooks v. Solis, 2017 WL 2908767, at *5 (N.D.

Ill. July 7, 2017). Because there are no prior acts involving excessive force, no reference to any

other unspecified misdeeds—whether addressed to Defendant Talbot, the other former defendants,

or IDOC in general—should be allowed. Even “[i]n those exceptional cases where evidence of

other acts is admitted, there must be a strong factual similarity between the prior acts and the

misconduct alleged in the case at trial.” Brooks, supra. Nothing like that exists here.

       Additionally, while Plaintiff initially pleaded allegations against former Defendants Sevier

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and Cornett for their failure to take disciplinary action against Defendant Talbot and other former

defendants, for the “number of complaints and grievances over many months and years,” these

claims were dismissed by the Court’s screening order of May 6, 2019. [ECF 11, at 5]. Finally,

“[e]vidence of other unrelated disciplinary actions is not admissible by either party to show that

[Defendant Talbot] acted in conformity with his character ... regardless of whether [Defendant

Talbot] “opens the door” to the use of such evidence. VanGilder, supra. Thus, an order in limine

is requested to foreclose reference to this subject matter.

   14. Barring Plaintiff from offering evidence or testimony concerning violations of IDOC
       internal guidelines, policies, procedures, administrative directives, or rules as evidence
       of a constitutional violation.
       Plaintiff should be barred from offering testimony or evidence to establish that Defendant

Talbot violated IDOC’s guidelines, policies, procedures, etc., which would be irrelevant to proving

that Defendant Talbot used excessive force during the April 10, 2018, cell extraction. See

Thompson v. City of Chicago, 472 F.3d 444, 446 (7th Cir. 2006); see also Whren v. United States,

517 U.S. 806, 815 (1996) (holding police manuals, guidelines, or general orders are not reliable

gauges of what is reasonable under the Constitution); Scott v. Edinburg, 346 F.3d 752, 760 (7th

Cir. 2003). Accordingly, any evidence or testimony pertaining to any allegations that Defendant

Talbot failed to abide by any IDOC procedures should be barred, as it is immaterial to the

Plaintiff’s claim for constitutional violations and significantly more prejudicial than probative.

Fed. R. Evid. 403.

   15. “Golden Rule/Stand in Plaintiff’s Shoes” Arguments.
       “A ‘Golden Rule’ appeal in which the jury is asked to put itself in Plaintiff’s position “is

universally recognized as improper because it encourages the jury to depart from neutrality and to

decide the case on the basis of personal interest and bias rather than on the evidence.” Spray-Rite

Service Corp. v. Monsanto Co., 682 F.2d 1226, 1246 (7th Cir. 1982); see United States v. Roman,

                                                 16
492 F.3d 803, 805-06 (7th Cir. 2007). Plaintiff should be foreclosed from making any such

argument to the jury. See Scott v. Menard, Inc., 2:10-cv-442, 2015 WL 4603218, at *3 (N.D. Ind.

July 30, 2015); Kelham v. CSX Transportation, Inc., 2:12-cv-316, 2015 WL 4426114, at *2 (N.D.

Ind. July 20, 2015); Jenkinson v. Norfolk Southern Ry. Co., No. 1:15-cv-824-TWP-MPB, 2017

WL 1393086, at *7 (S.D. Ind. Apr. 17, 2017); Spreckelmeyer v. Indiana State Police Department,

No. 1:15-cv-912-TWP-DML, 2017 WL 111596, at *5 (S.D. Ind. Jan. 11, 2017).

    16. “Justice delayed is justice denied” and “waiting for his day in court” arguments.
        It is anticipated that Plaintiff may attempt to appeal to juror sympathy by suggesting that

he has waited a long time “for his day in court” or that his ability to have his case heard has been

unfairly delayed. Mention of, and specifically criticism of, the course and length of time of this

litigation should not be permitted because either subject would be irrelevant and prejudicial.

Therefore, any evidence of the same should be excluded under Fed. R. Evid 401 and 402.

        Even if deemed relevant, reference to the time a litigant waits for resolution of a cause

should not be allowed because its probative value is substantially outweighed by the danger of

unfair prejudice, confusion of the issues, or misleading the jury. Appeals to award monetary

damages solely because someone “had to wait a long while” is prejudicial, and an improper attempt

to persuade jurors on an illegitimate basis unrelated to the merits of the case. As a result, it should

be barred at trial and/or voir dire.

    17. Any previously non-disclosed trial witnesses.
        In discovery, Defendant Talbot requested Plaintiff to, “Identify all witnesses You or Your

attorney intend to call at the trial of this matter or for any hearing. For each witness, please provide

a summary of the facts to which the witness is expected to testify.” [ECF 65, at 10]. Plaintiff

responded with,

        John Salyer I feel he will tell the facts in how Defendants used excessive force that

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       I was in fact beat. Dr. Jackson that my condition was above and beyond what it
       should have been. Nurse Hutchinson that it would have taken excessive force for
       me to be beat so bad. I want all defendants [to] tell their story. Ms. Boren? Aaron
       Isby Israel tell what he heard an[d] seen (sic). I’m sure more when we get more
       paperwork.

[ECF 86-5, at 9]. As such, Plaintiff has identified only the following witnesses and the expected

testimony that he may use at trial: (1) John Salyer – to testify about how Defendant Talbot

allegedly used excessive force; (2) Dr. James Jackson – to testify about Plaintiff’s “condition;” (3)

Nurse Hutchinson – to testify about the alleged use of excessive force; (4) the named defendant(s)

– to “tell their story;” (5) Ms. Michelle Boren – testimony unknown; and (6) Aaron Isby Israel –

to testify about what he heard and saw on April 10, 2018. This Interrogatory answer has not been

supplemented, amended, or revised since it was originally served by Plaintiff on or about June 5,

2020. [ECF 86-5, at 1, 4].

       Despite this answer, Plaintiff has now identified approximately 33 different possible trial

witnesses. [See, Proposed Pre-Trial Order, ECF pending]. Because Defendant Talbot relied on

Plaintiff’s earlier representation as to potential trial witnesses when conducting his own discovery

and deposition(s), he now objects to any witnesses and/or testimony that were not previously

disclosed by Plaintiff. As such, Defendant Talbot specifically objects to the following individuals,

identified as Plaintiff’s possible trial witnesses in the proposed Pre-Trial Order: (1) James Bowen;

(2) Alex McGowan; (3) Corey McKinney; (4) Gary Lewis; (5) Thomas Carter; (6) Jason Knocke;

(7) Trevor Spiegel; (8) Richard S. Usdowski, MHP; (9) William G. Hanson, RN; (10) Barbara

Eichman, M.D.; (11) Janice C. West, LPN; (12) Jody Kupferberg, NP; (13) Jeanine A. Monnier,

RN; (14) Susan E. Downing, LPN; (15) Jewell A. Kleege, MHP; (16) Sharon Hert; (17) Darren

Bailey; and (18) Merle Webb. These individuals were not previously defendants, nor were they

previously identified by Plaintiff as a possible trial witness.



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    18. Any previously non-disclosed trial exhibits.
        In discovery, Defendant Talbot also requested Plaintiff to, “identify and describe each and

every exhibit that You or Your attorney intend to present at trial, including, but not limited to,

documents, photos, videos, diagrams, and charts.” [ECF 65, at 11]. Plaintiff responded with,

        First thing will be the video. My case was on video. The Asst. part of it was anyway.
        It will show me held down and beat with me unable to do anything to stop it an[d]
        the ones watching doing nothing to stop it. I’ve got a Report of Conduct that will
        show lies. Photos of me after the Asst. my condition, medical documents, Request
        forms of me [trying] to get all this. I plan to depose all listed in Interrogatory No. 7
        an[d] more as [it’s] provided to me.

[ECF 86-5, at 10]. Defendant Talbot also served a Request for Production on Plaintiff seeking,

“Please produce all exhibits you intend to introduce or rely upon during the trial of this matter.”

[ECF 64, at 7]. Plaintiff responded on or about June 23, 2020, with simply “N/A” as a response to

this request. Thus, Plaintiff has identified only the following exhibits, or categories of exhibits that

he may use at trial: (1) extraction video(s); (2) Report(s) of Conduct; (3) photographs of himself

after the cell extraction; (4) medical documents; (5) Request forms; and (6) possible deposition

transcripts. This Interrogatory answer has not been supplemented, amended, or revised since it was

originally served by Plaintiff on or about June 5, 2020. [ECF 86-5, at 1, 4].

        Despite this answer, Plaintiff has now identified approximately 110 different possible

exhibits to be used at trial. [See, Proposed Pre-Trial Order, ECF pending]. Because Defendant

Talbot relied on Plaintiff’s earlier representation as to potential trial exhibits when conducting his

own discovery and deposition(s), he now objects to any exhibits or categories of exhibits that were

not previously disclosed by Plaintiff. As such, Defendant Talbot specifically objects to the

inclusion of the exhibits identified as Plaintiff’s possible trial exhibits, #54 through #84, inclusive,

in the proposed Pre-Trial Order, as they were not previously identified by Plaintiff as being

potential trial exhibits.


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   19. This motion and any order entered thereon.
       Plaintiff should be prohibited from making any mention of this motion, or any of the

Court’s rulings in response to this motion, or otherwise suggesting to the jury that Defendant has

moved to prohibit proof of something or that the Court has excluded proof of any particular matter.

Miller v. Polaris Laboratories, LLC, 2016 WL 1639087, at *6 (S.D. Ind. Apr. 26, 2016) (“referring

to the Motions in Limine to raise a suspicion with the jury that the opposing party is trying to hide

something from the jury is unfairly prejudicial and inappropriate.”). Should issues arise concerning

the parties’ adherence to the Court’s orders in limine, they should be addressed to the Court outside

the presence and hearing of the jury.

                                                      Respectfully submitted,

                                                      EICHHORN & EICHHORN, LLP

                                              By:     /s/ Alan M. Kus
                                                      David J. Beach, #18531-45
                                                      Alan M. Kus, #31388-45
                                                      Attorneys for Defendant, Geoffrey Talbot

EICHHORN & EICHHORN, LLP
2929 Carlson Dr., Suite 100
Hammond, IN 46323
Telephone: (219)-931-0560
Facsimile: (219)-931-5370
E-mail: dbeach@eichhorn-law.com
         akus@eichhorn-law.com


                                 CERTIFICATE OF SERVICE
       I, Alan M. Kus, certify that on October 10, 2023, I electronically filed the foregoing with

the Clerk of the Court using the Case Management / Electronic Case Filing (CM / ECF) system

maintained by the United States District Court for the Northern District of Indiana.

                                                      /s/ Alan M. Kus
                                                      Alan M. Kus

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